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U.S. Department of Justice

Jessie K. Liu
United States Attorney

 

District of Columbz'a

 

Judiciary Cenler
555 Fourth St., N. W.
Washinglon, D.C. 2053()

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August 31, 2018 AUG 3 1 2018
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Stuart A. Sears, Esq. 0 ' -S~ District & Bankm
Schertler & Onorato, LLP guns for the District of Coluiiigl;
901 New York Avenue, N.W.
Suite 500
Washington, DC 20001

Re: United States v. W. Samuel Patten 18 - CK ' 2 60 (%j>

Dear Counsel:

This letter sets forth the full and complete plea offer to your client W. Samuel Patten
(hereinafter referred to as “your client” or “defendant”) from the United States Attorney’s Offlce
for the District of Columbia (hereinafter also referred to as “the Government” or “this Offlce”).
If your client accepts the terms and conditions of this offer, please have your client execute this
document in the space provided below. Upon receipt of the executed document, this letter will
become the Plea Agreement (hereinafter referred to as the “Agreement”). The terms of the offer

are as follows.
1. Charges and Statutorv Penalties

Your client agrees to plead guilty to: a Criminal Information that charges him with
violating the Foreign Agents Registration Act (“FARA”), 22 U.S.C. §§ 612 and 618(a)(1). A copy
of the Criminal Information is attached.

Your client understands that a violation of 22 U.S.C. §§ 612 and 618(a)(l) carries a
maximum sentence of 5 years’ imprisonment; a flne of not more than $250,000, or twice the
pecuniary gain or loss of the offense, pursuant to 18 U.S.C. § 3571(b)(3); a term of supervised
release of not more than 3 years, pursuant to 18 U.S.C. § 3583(b)(2); and an obligation to pay any
applicable interest or penalties on fines and restitution not timely made.

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In addition, your client agrees to pay a mandatory special assessment of $100 to the Clerk
of the United States District Court for the District of Columbia. Your client also understands that,
pursuant to 18 U.S.C. § 3572 and § 5E1.2 of the United States Sentencing Guidelines, Guz'delines
Mcmuczl (2016) (hereinafter “Sentencing Guidelines,” “Guidelines,” or “U.S.S.G.”), the Court may
also impose a flne that is sufficient to pay the federal government the costs of any imprisonment,
term of supervised release, and period of probation

2. Factual Stigulatiuns

Your client agrees that the attached “Statement of the Offcnse” fairly and accurately
describes and summarizes your client’s actions and involvement in the offense to which your
client is pleading guilty as well as additional conduct he is admitting and for which he is taking
responsibility Please have your client sign and return the Statement of the Offense, along with
this Agreement.

3. Additional Charges

In consideration of your client’s guilty plea to the above offense, and upon the
completion of full cooperation as described herein, no additional criminal charges will be
brought against the defendant for his heretofore disclosed participation in criminal activity,
including FARA offenses, false statements to and obstruction of the United States Senate Select
Committee on Intelligence, and causing foreign money to be paid to the 2016-17 Presidential
Inaugural Committee.

4. Sentencing Guidclines Analvsis

Your client understands that the Court may determine a sentencing guideline range for
this case (henceforth the “advisory guideline range”) pursuant to the Sentencing Reform Act of
1984 at 18 U.S.C. §§ 3551-3742 (excepting 18 U.S.C. §§ 3553(b)(1) and 3742(e)) and 28 U.S.C.
§§ 991 through 998. The Defendant further understands that the Court will impose a Sentence
pursuant to the Sentencing Reform Act, as excised, and must take into account the advisory
guideline range in establishing a reasonable sentence.

Your client further understands that the Sentencing Guidelines do not contain a guideline
for a FARA violation '1`he Guidelines, however, call for the use ofthe most analogous
guideline U.S.S.G. §§ 1B1.2(a) and 2X5.1. lf there is not a sufficiently analogous guideline,
then the factors in 18 U.S.C. § 3553 would control. U.S.S.G. § 2X5.1. Additionally, any
guidelines and policy statements that can be applied meaningfully without a guideline would
remain applicable. Ibid.; see also 18 U.S.C. § 3553(b). Under the facts in this case, the parties
stipulate and agree that there is no sufficiently analogous guideline

A. Acceptance of Responsibility
thther or not the Court determines that an analogous guideline applies, the Government

agrees that a 2-level reduction will be appropriate, pursuant to U.S.S.G. § 3El.l, provided that
your client clearly demonstrates acceptance of responsibility, to the satisfaction of the

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Government, through your client’s allocution, adherence to every provision of this Agreement,
and conduct between entry of the plea and imposition of sentence. lf the defendant has accepted
responsibility as described above, and if the defendant pleads guilty on or before August 31,
2018, Subject to the availability of the Court, an additional one-level reduction will be warranted,
pursuant to U.S.S.G. § 3El.l(b), ifthe Court were to determine a level 16 or higher Guideline
were applicable

Nothing in this Agreement limits the right of the Government to seek denial of the
adjustment for acceptance of responsibility, pursuant to U.S.S.G. § 3E1.1, and/or imposition of
an adjustment for obstruction ofjustice, pursuant to U.S.S.G. § 3Cl.l, regardless of any
agreement set forth herein, should your client move to withdraw his guilty plea after it is entered,
or should it be determined by the Government that your client has either (a) engaged in conduct,
unknown to the Government at the time of the signing of this Agreement, that constitutes
obstruction of justice, or (b) engaged in additional criminal conduct after signing this Agreement.

B. Estimated Criminal History Category

Based upon the information now available to this Offlce, your client has no criminal
convictions Accordingly, your client is estimated to have no criminal history points and your
client’s Criminal History Category is estimated to be Category I. Your client acknowledges that
if additional convictions are discovered during the pre-sentence investigation by the United
States Probation Offlce, your client’s criminal history points may increase.

5. Agrccmcnt as to Sentencing Allocution

Based upon the information known to the Government at the time of the signing of this
Agreement, the parties further agree that a sentence within the potential analogous guideline
range would constitute a reasonable sentence in light of all of the factors set forth in 18 U.S.C.
§ 3553(a), should such a sentence be subject to appellate review notwithstanding the appeal
waiver provided below.

6. Reservation of Allocution

T he Government and your client reserve the right to describe fully, both orally and in
writing, to the sentencing judge, the nature and seriousness of your client’s misconduct,
including any misconduct not described in the charge to which your client is pleading guilty.

The parties also reserve the right to inform the presentence report writer and the Court of
any relevant facts, to dispute any factual inaccuracies in the presentence report, and to contest
any matters not provided for in this Agreement. In the event that the Court considers any
Sentencing Guidelines adjustments, departures, or calculations different from any agreements
contained in this Agreement, or contemplates a sentence outside the potential analogous
Guidelines range based upon the general sentencing factors listed in 18 U.S.C. § 3553(a), the
parties reserve the right to answer any related inquiries from the Court. ln addition, your client
acknowledges that the Government is not obligated to file any post-sentence downward
departure motion in this case pursuant to Rule 35(b) of the Federal Rules of Criminal Procedure.

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7. Court Not Bound by this Agreement or the Sentencing Guidelines

Your client understands that the sentence in this case will be imposed in accordance with
18 U.S.C. § 3553(a), and may take into consideration the Sentencing Guidelines. Your client
further understands that the sentence to be imposed is a matter solely within the discretion of the
Court. Your client acknowledges that the Court is not obligated to follow any recommendation
of thc Government at the time of sentencing or to grant a downward departure based on your
client’s substantial assistance to the Government, even if the Government files a motion pursuant
to Section 5K1.1 of the Sentencing Guidelines. Your client understands that neither the
Government’s recommendation nor the Sentencing Guidelines are binding on the Court.

Your client acknowledges that your client’s entry of a guilty plea to the charged offense
authorizes the Court to impose any sentence, up to and including the statutory maximum
sentence, which may be greater than the applicable Guidelines range. The Government cannot,
and does not, make any promise or representation as to what sentence your client will receive.
Moreover, your client acknowledges that your client will have no right to withdraw your client’s
plea of guilty should the Court impose a sentence that is outside the potential analogous
Guideline range or if the Court does not follow the Government’s sentencing recommendation
The Government and your client will be bound by this Agreement, regardless of the sentence
imposed by the Court. Any effort by your client to withdraw the guilty plea because of the
length of the sentence shall constitute a breach of this Agreement.

8. Condition of Release

In view of the cooperation your client has provided and agrees to continue to provide and
the expected investigation(s) that will be based on his cooperation, the United States agrees to
request your client’s release pending sentencing Your client also agrees that any violation of
your client’s release conditions, any misconduct by your client, or any inability or failure on the
part of your client to continue your client’s cooperation With the Government may result in the
Government filing an ex parte motion with the Court requesting that a bench warrant be issued
for your client’s arrest and that your client be detained Without bond while pending sentencing in
this case. Your client acknowledges that, although the Government will not seek a change in
your client’s release conditions pending sentencing, the final decision regarding your client’s
bond status or detention will be made by the Court at the time of your client’s plea of guilty.

9. Cooperation

Your client shall cooperate fully, truthfully, completely, and forthrightly with this Office,
the Special Counsel’s Ofi'ice, and other law enforcement authorities identified by this Office in
any and all matters as to which this Office deems the cooperation relevant. This cooperation will
include, but is not limited to, the following:

(a) The defendant agrees to be fully debriefed and to attend all meetings at which his
presence is requested, concerning his participation in and knowledge of all criminal
activities;

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(b) 'I`he defendant agrees to furnish to the Government all documents and other material
that may be relevant to the investigation and that are in the defendant`s possession or
control and to participate in undercover activities pursuant to the specific instructions
oflaw enforcement agents or the Government;

(c) The defendant agrees to testify at any proceeding in the District of Columbia or
elsewhere as requested by the Government;

(d) The defendant consents to adjournments of his sentence as requested by the
Government;

(e) The defendant agrees that all of the defendant’s obligations under this agreement
continue after the defendant is sentenced; and

(f) '1`he defendant must at all times give complete, truthful, and accurate information and
testimony, and must not commit, or attempt to commit, any further crimes.

Your client acknowledges and understands that, during the course of the cooperation
outlined in this Agreement, your client will be interviewed by law enforcement agents and/or
Government attorneys. Your client waives any right to have counsel present during these
interviews and agrees to meet with law enforcement agents and Government attorneys outside
the presence of counsel. If, at some future point, you or your client desire to have counsel
present during interviews by law enforcement agents and/or Government attorneys, and you
communicate this decision in writing to this Office, this Office will honor this request, and this
change will have no effect on any other terms and conditions of this Agreement.

Your client shall testify fully, completely and truthfully before any and all Grand Juries
in the District of Columbia and elsewhere, and at any and all trials of cases or other court
proceedings in the District of Columbia and elsewhere, at which your client’s testimony may be
deemed relevant by the Government

Your client understands and acknowledges that nothing in this Agreement allows your
client to commit any criminal violation of local, state or federal law during the period of your
client’s cooperation with law enforcement authorities or at any time prior to the sentencing in
this case. The commission ofa criminal offense during the period of your client’s cooperation or
at any time prior to sentencing Will constitute a breach of this Agreement and will relieve the
Government of all of its obligations under this Agreement, including, but not limited to, its
obligation to inform this Court of any assistance your client has provided. However, your client
acknowledges and agrees that Such a breach of this Agreement will not entitle your client to
withdraw your client’s plea of guilty or relieve your client of the obligations under this
Agreement.

Your client agrees that the sentencing in this case may be delayed until your client’s
efforts to cooperate have been completed, as determined by the Government, so that the Court
will have the benefit of all relevant information before a sentence is imposed.

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1(). Government’s Obligations

The Government will bring to the Court’s attention at the time of sentencing the nature
and extent of your client’s cooperation or lack of cooperation The Government will evaluate the
full nature and extent of your client’s cooperation to determine whether your client has provided
substantial assistance in the investigation or prosecution of another person who has committed an
offense. lf this ()ffice determines that the defendant has provided substantial assistance in the
form of truthful information and, where applicable, testimony, this Office will file a motion
pursuant to Section 5K1.1 of the United States Sentencing Guidelines. Defendant will then be
free to argue for any sentence within the statutory range, including probation Depending on the
precise nature of the defendant’s substantial assistance, this Office may not oppose defendant’s
application

ll. Waivers
A. Statute of Limitations

Your client agrees that, should the conviction following your client’s plea of guilty
pursuant to this Agreement be vacated for any reason, any prosecution, based on the conduct set
forth in the attached Statement of the Offense, that is not time-barred by the applicable statute of
limitations on the date of the signing of this Agreement, as well as any crimes that the
Government has agreed not to prosecute or to dismiss at sentencing pursuant to this Agreement,
may be commenced or reinstated against your client, notwithstanding the expiration of the statute
of limitations between the signing of this Agreement and the commencement or reinstatement of
such prosecution lt is the intent of this Agreement to waive all defenses based on the statute of
limitations with respect to any prosecution of conduct set forth in the attached Statement of the
Offense that is not time-barred on the date that this Agreement is signed.

B. Trial and ()ther' Rights

Your client understands that by pleading guilty in this case your client agrees to waive
certain rights afforded by the Constitution of the United States and/or by statute or rule. Your
client agrees to forgo the right to any further discovery or disclosures of information not already
provided at the time of the entry of your client’s guilty plea. Your client also agrees to waive,
among other ri ghts, the right to be indicted by a Grand Jury, the right to plead not guilty, and the
right to a jury trial. lf` there were a jury trial, your client would have the right to be represented
by counsel, to confront and cross-examine witnesses against your client, to challenge the
admissibility of evidence offered against your client, to compel witnesses to appear for the
purpose oftestifying and presenting other evidence on your client’s behalf, and to choose
whether to testify. If there were ajury trial and your client chose not to testify at that trial, your
client would have the right to have the jury instructed that your client’s failure to testify could
not be held against your client. Your client would further have the right to have the jury
instructed that your client is presumed innocent until proven guilty, and that the burden would be
on the United States to prove your client’s guilt beyond a reasonable doubt. lf your client were
found guilty after a trial, your client would have the right to appeal your client’s conviction
Your client understands that the Fifth Amendment to the Constitution of the United States

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protects your client from the use of compelled self-incriminating statements in a criminal
prosecution By entering a plea of guilty, your client knowingly and voluntarily waives or gives
up your client’s right against compelled self-incrimination

Your client acknowledges discussing With you Rule 1 l(f) of the Federal Rules of
Criminal Procedure and Rule 410 of the Federal Rules of Evidence, which ordinarily limit the
admissibility of statements made by a defendant in the course of plea discussions or plea
proceedings if a guilty plea is later withdrawn Your client knowingly and voluntarily hereby
waives the rights that arise under these rules to object to the Government’s use of all such
statements by him on and after May 22, 2018 (which is the date of your client’s first proffer), in
the event your client breaches this agreement, withdraws his guilty plea, or seeks to withdraw
from this Agreement after signing it. This Agreement supersedes the proffer agreement between
the Government and the client.

Your client also agrees to waive all constitutional and statutory rights to a speedy
sentence and agrees that the plea of guilty pursuant to this Agreement will be entered at a time
decided upon by the parties with the concurrence of the Court. Your client understands that the
date for sentencing will be set by the Court,

Your client agrees not to accept remuneration or compensation of any sort for the
dissemination through any means, including but not limited to books, articles, speeches, blogs,
podcasts, and interviews, however disseminated, regarding his violation of FARA, as detailed in
the Statement of the Offense. This provision is not intended to cover remuneration or
compensation for the dissemination of other information regarding the criminal activity of others
or the lawful acts of your client, whether performed domestically or internationally.

C. Appeal Rights

Your client agrees to waive the right to appeal the conviction in this case on any basis
permitted by law, including but not limited to claim(s) that (1) the statute(s) to which your client
is pleading guilty is unconstitutional, and (2) the admitted conduct does not fall Within the scope
of the statute(s). Your client understands that federal law, specifically 18 U.S.C. § 3742, affords
defendants the right to appeal their sentences in certain circumstances Your client also agrees to
waive the right to appeal the sentence in this case, including but not limited to any term of
imprisonment, fine, forfeiture, award of restitution, term or condition of supervised release,
authority of the Court to set conditions of release, and the manner in which the sentence was
determined, except to the extent the Court sentences your client above the statutory maximum or
guidelines range determined by the Court. ln agreeing to this waiver, your client is aware that
your client’s sentence has yet to be determined by the Court. RealiZing the uncertainty in
estimating what sentence the Court ultimately will impose, your client knowingly and willingly
waives your client’s right to appeal the sentence, to the extent noted above, in exchange for the
concessions made by the Government in this Agreement. Notwithstanding the above agreement
to waive the right to appeal the conviction and sentence, your client retains the right to appeal on
the basis of ineffective assistance of counsel, but not to raise on appeal other issues regarding the
conviction or sentence.

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D. Collateral Attack

Your client also waives any right to challenge the conviction entered or sentence imposed
under this Agreement or otherwise attempt to modify or change the sentence or the manner in
which it was determined in any collateral attack, including, but not limited to, a motion brought
under 28 U.S.C. § 2255 or Federal Rule of Civil Procedure 60(b), except to the extent such a
motion is based on newly discovered evidence or on a claim that your client received ineffective
assistance of counsel. Your client reserves the right to file a motion brought under 18 U.S.C.

§ 3582(0)(2), but agrees to waive the right to appeal the denial of such a motion

Your client agrees that with respect to all charges referred to herein he is not a
“prevailing party” within the meaning of the “Hyde Amendmcnt,” 18 U.S.C. § 3006A note, and
will not file any claim under that law.

12. Restitution

Your client understands that the Court has an obligation to determine whether, and in
what amount, mandatory restitution applies in this case under 18 U.S.C. § 3663A. The
Government and your client agree that mandatory restitution does not apply in this case.

13. Brcach of Agreement

Your client understands and agrees that, if after entering this Agreement, your client fails
specifically to perform or to fulfill completely each and every one of your client’s obligations
under this Agreement, or engages in any criminal activity prior to sentencing, your client will
have breached this Agreement. Should it be judged by this Office in its sole discretion that the
defendant has failed to cooperate fully, has intentionally given false, misleading or incomplete
information or testimony, has committed or attempted to commit any further crimes, or has
otherwise violated any provision of this agreement, the defendant will not be released from his
plea of guilty but this Office will be released from its obligations under this agreement, including
(a) not to oppose a downward adjustment of two levels for acceptance of responsibility described
above, and to make the motion for an additional one-level reduction described above and (b) to
file the motion for a downward departure for cooperation described above. l\/loreover, this
Office may withdraw the motion described above, if such motion has been filed prior to
sentencing ln the event that it is judged by this Office that there has been a breach: (a) your
client will be fully subject to criminal prosecution, in addition to the charge contained in the
Criminal Information, for any crimes to which he has not pled guilty, including perjury and
obstruction of justice; and (b) the Government will be free to use against your client, directly and
indirectly, in any criminal or civil proceeding, all statements made by your client and any of the
information or materials provided by your client, including such statements, information, and
materials provided pursuant to this Agreement or during the course of any debriefings conducted
in anticipation of, or after entry of, this Agreement, whether or not the debriefings were
previously a part of proffer-protected debriefings, and your client’s statements made during
proceedings before the Court pursuant to Rule l 1 of the Federal Rules of Criminal Procedure.

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Your client understands and agrees that the Government shall be required to prove a
breach of this Agreement only by a preponderance of the evidence, except where such breach is
based on a violation of federal, state, or local criminal law, which the Government need prove
only by probable cause in order to establish a breach of this Agreement.

Nothing in this Agreement shall be construed to protect your client from prosecution for
any crimes not included within this Agreement or committed by your client after the execution of
this Agreement. Your client understands and agrees that the Government reserves the right to
prosecute your client for any such offenses. Your client further understands that any perjury,
false Statements or declarations, or obstruction of justice relating to your client’s obligations
under this Agreement shall constitute a breach of this Agreement. In the event of such a breach,
your client will not be allowed to withdraw your client’s guilty plea.

14. Comglcte Agreement

Apart from the written proffer agreement with the Special Counsel’S Office initially dated
May 22, 2018, which this Agreement supersedes, no agreements, promises, understandings, or
representations have been made by the parties or their counsel other than those contained in
writing herein, nor will any such agreements, promises, understandings, or representations be
made unless committed to writing and signed by your client, defense counsel, and this Office.

Your client further understands that this Agreement is binding only upon this Office, the
National Security Division of the U.S. Department of Justice, and the Special Counsel’s Office.
This Agreement does not bind any other United States Attorney’s Office, nor does it bind any
other state, local, or federal prosecutor. It also does not bar or compromise any civil, tax, or
administrative claim pending or that may be made against your client,

*****

If the foregoing terms and conditions are satisfactory, your client may so indicate by
signing this Agreement and the Statement of the Offense, and returning both to this Office no
later than August 31, 2018.

Sincerely yours,

JESSIE K. LIU
United States Attorney

By:
Michael C. DiLorenzo
Assistant U.S. Attorney

Scott A. Claffee

Trial Attorney

U.S. Department of Justice
National Security Division

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DEFENDANT’S ACCEPTANCE

1 have read every page of this Agreement and have discussed it with my attorney Stuart
Sears. 1 am fully satisfied with the legal representation by l\/lr. Sears and his l'irm, who 1 have
chosen to represent me herein, Nothing about the quality of the representation of other counsel
is affecting my decision herein to plead guilty, 1 fully understand this Agreement and agree to it
without reservation 1 do this voluntarily and of my own free will, intending to be legally bound.
No threats have been made to me nor am 1 under the influence of anything that could impede my
ability to understand this Agreement fully. 1 am pleading guilty because 1 am in fact guilty of the
offense identified in this Agreement.

1 reaffirm that absolutely no promises, agreements, understandings, or conditions have
been made or entered into in connection with my decision to plead guilty except those set forth
in this Agreement. 1 am satisfied with the legal services provided by my attorneys in connection
with this Agreement and matters related to it.

 

Date: %"__3 l " (Z
W. Samuel Patten
Defendant

ATTORNEY’S ACKNOWLEDGMENT

1 have read every page of this Agreement, reviewed this Agreement with my client,
Samuel Patten, and fully discussed the provisions of this Agreement with my client. These pages
accurately and completely set forth the entire Agreement. 1 concur in my client’s desire to plead
guilty as set forth in this Agreement.

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Stuar' fSears, Esq.
Att ney for Defendant

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